                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


UNITED STATES OF AMERICA,

         Plaintiff,
v.                                                Case No.: 8:14-cv-467-T-30MAP

$22,900.00 IN U.S. CURRENCY,

         Defendant.


                           JUDGMENT OF FORFEITURE

         THIS CAUSE comes before the Court on the United States= Motion for a Judgment

of Forfeiture (Doc. 23) for $22,900.00 in U.S. Currency (Defendant Funds), pursuant to

the provisions of 21 U.S.C. § 881(a)(6), Supp=l Rule G, Supplemental Rules for Certain

Admiralty or Maritime Claims and Asset Forfeiture Actions, and Civil Rule Procedure

60(a).

           Having been fully advised in the premises, the Court hereby finds that the

Defendant Funds are forfeitable to the United States as moneys furnished or intended to

be furnished by a person in exchange for a controlled substance, proceeds traceable to

such an exchange, or moneys intended to be used to facilitate a federal controlled

substance offense, in violation of 21 U.S.C. § 881(a)(6) and therefore subject to forfeiture.

         The Court further finds that the only person known to have an alleged interest in

the Defendant Funds is Julio Rodriguez Chavez. In accordance with the provisions of

Supp=l Rule G(4)(b)(i), Julio Rodriguez Chavez received actual notice of this action and

was sent a copy of the Verified Complaint. No person other than Julio Rodriguez Chavez

has filed a claim. Julio Rodriguez Chavez filed a claim, but later withdrew that claim.
The time for filing a claim has expired. Thus, it is now appropriate for the Court to enter

a Judgment of Forfeiture for the Defendant Funds.

         The Court further finds that the United States filed a Declaration of Publication

which reflects that notice of this forfeiture was posted on an official government internet

website (www.forfeiture.gov) for at least 30 consecutive days, beginning on February 28,

2014, pursuant to Supp=l Rule G(4)(a)(iv)(C).

         The Court further finds that no other person with an alleged interest in the

Defendant Funds has timely filed a claim, and the time for filing such a claim has expired.

         Accordingly, it is hereby

         ORDERED, ADJUDGED AND DECREED that for good cause shown, said Motion

of the United States (Doc. 23) is hereby GRANTED.

         It is further ORDERED that, pursuant to the provisions of 21 U.S.C. § 881(a)(6)

and Supp=l Rule G, all right, title, and interest in the Defendant Funds is hereby

CONDEMNED and FORFEITED to the United States for disposition according to law.

Clear title to the Defendant Funds is now vested in the United States of America.

         DONE and ORDERED in Tampa, Florida, this 8th day of April, 2015.




Copies furnished to:
Counsel/Parties of Record
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